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     8                             UNITED STATES DISTRICT COURT

     9                       FOR THE CENTRAL DISTRICT OF CALIFORNIA

 10                                     June 2017 Grand Jury

 11       UNITED STATES OF AMERICA,

12                   Pl~intiff,                     I N D I C T M E N T

13                   V.                              [18 U.S.C. §§ 1343, 1346: Honest
                                                       Services Wire Fraud; 18 U.S.C.
14        ARMAN GABAEE, aka "Arman                   · § 666(a) (2): Federal Program
             Gabay, 11                                 Bribery]
15
                     Defendant.
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               The Grand Jury charges:
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                                     INTRODUCTORY ALLEGATIONS
19
               At all times relevant to this Indictment:
20
               1.    Defendant ARMAN GABAEE, also known as "Arman Gabay;,
21
          ("GABAEE"), was a real estate developer who conducted business with
22
         Los Angeles County ("County"), within the Central District of
23
         California.      Defendant GABAEE was the co-managing partner and co-
24
         founder of the Charles Company, a real estate development firm that
25
         developed and maintained commercial and residential real estate
26
         projects.     Defendant GABAEE was also a partner of the California
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         limited partnership M&A Gabaee, among other entities.              Defendant
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     1     GABAEE's business activities included obtaining contracts with the

     2     County, whereby the County would lease property owned by defendant

     3     GABAEE or one of his companies.

     4            2.   Cooperating Witness 1 ("CWl") was a public official

     5     employed by the County in its Real Estate Division.                 As an agent of

     6     the County, CWl negotiated leases between private property owners,

     7     like defendant GABAEE, and County departments or agencies.                  While

     8    employed by the County, CWl requested and received proposals from

     9    private property owners who wanted to lease space to the County.

 10       Once a property was identified for a County department or agency in

11        need of space, CWl negotiated lease terms and drafted lease

12        agreements, or directed others to do so.

13               3.    As a public official employed by the County, CWl owed a

14        fiduciary duty to the citizens of the County and to CWl's employer,

15        the County, to perform the duties and responsibilities of CWl's

16        office free from bias, conflicts of interest, self-enrichment, self-

17        dealing, concealment, deceit, fraud, kickbacks, and bribe·ry.

18               4.    The County was a local government that received, every

19        calendar year between 2010 and 2017, benefits in excess of $10,000

20        under a Federal program involving a grant, contract, subsidy, loan,

21        guarantee, insurance, or other form of Federal assistance.                   In fact,

22       multiple County departments or agencies, including but not limited to

23        the Department of Public Social Services ("DPSS"), received Federal

24       assistance that exceeded $10,000 every calendar year between 2010 and

25       2017.

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     1                               COUNTS ONE THROUGH THREE

     2                               [18   u.s.c.   §§   1343, 1346]

     3           Beginning in or about 2010 or 2011, and continuing until on or

     4     about April 25, 2017, in Los Angeles County, within the Central

     5     District of California, and elsewhere, defendant ARMAN GABAEE, also

     6     known as ("aka") "Arman Gabay" ("GABAEE"), together with others known

     7     and unknown to the Grand Jury, knowingly and with intent to defraud,

     8     devised, participated in, and executed a scheme to defraud the

     9     citizens of Los Angeles County ("County") and the employer of

 10        Cooperating Witness 1 ("CWl"), the Real Estate Division of the

11        County, of their right to the honest services of CWl by means of

12        bribes and kickbacks and the concealment of material facts.

13        A.    THE SCHEME TO DEFRAUD

14              The scheme to defraud operated, in substance, in the following

15        manner and by the following means:

16              Monthly Bribe Payments

17              1.   Beginning in or about 2010 or 2011, and continuing until on

18        or about April 11, 2017, defendant GABAEE paid CWl bribes and

19        kickbacks of approximately $1,000 about every month, in exchange for,

20        among other things:    (a) CWl providing non-public County information

21        to defendant GABAEE;    (b) CWl resolving issues between defendant

22        GABAEE and County departments or agencies on terms favorable to

23        defendant GABAEE; and (c) CWl helping to secure County leases for

24        defendant GABAEE and negotiating terms in those leases that were

25        beneficial to defendant GABAEE.

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     1           2.    On or about the following dates, during recorded meetings,

     2     defendant GABAEE paid CWl the following cash bribes and kickbacks:
     3                 a.   December 20, 2016 - $1,500;
     4                 b.   December 30, 2016 - $1,500;
     5                 c.   January 27, 2017 - $1,000;
     6                 d.   March 1, 2017 - $1,000;
     7                e.    March 31, 2017 - $900; and
     8                f.    April 11, 2017 - $100 (collectively, the "monthly

     9     bribe payments").

 10             The Hawthorne Mall and $45 Million DPSS Lease

 11             3.    In or around 2016 and 2017, one of the County leases

12        defendant GABAEE sought was for the Hawthorne Mall, aka the

13         "Hawthorne Plaza" or "Hawthorne Plaza Shopping Center," located in

14        Hawthorne, California.      Through one of his companies, defendant

15        GABAEE owned and was redeveloping the Hawthorne Mall.             Defendant

16        GABAEE sought a contract through which the County would lease space

17        from defendant GABAEE for DPSS and other County departments or

18        agencies in the Hawthorne Mall (the "DPSS Lease").            As drafted, the

19        DPSS Lease anticipated a term of 10 years and payments to defendant

20        GABAEE, in the form of rent and tenant improvements reimbursable by

21        the County, in excess of $45 million.

22             4.     Beginning in or about, but no later than, December 2016 and

23        continuing until on or about April 25, 2017, defendant GABAEE

24        attempted to bribe and did bribe CWl with (a) the monthly bribe

25        payments and (b) the attempted purchase of a residential property in

26       Northern California for CW1 1 s use, listed for sale at over

27        $1,000,000, in exchange for CWl performing various official acts

28       related to the DPSS Lease.      Those official acts included, among other

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      1    things:   (a) CWl exerting pressure on County departments to complete

     2     and submit Space Request Evaluations ("SREs"), an official request

     3     for office space that would have allowed CWl to begin more formal

     4     lease negotiations with defendant GABAEE;            (b) CWl pretending to

     5     publically engage in the normal County bidding process for County

     6     Leases, but in fact, promising defendant GABAEE that CWl would give

     7     defendant GABAEE favorable treatment to ensure that defendant GABAEE

     8     received the DPSS Lease;     (c) CWl exerting pressure on a subordinate

     9     employee ("County Employee 1") in the Real Estate Division to.draft

 10        the DPSS Lease for defendant GABAEE, and to do so expeditiously and

 11       no later than August 2017;      (d) CWl using CWl's influence to pressure

 12       County Employee 1 to draft the DPSS Lease in such a way that it

13         "looked good on paper," meaning that it did not appear suspect or

14        raise concerns;    (e) CWl u_sing CWl' s influence to pressure DPSS to

15        agree to the terms in the DPSS Lease; and (f) CWl ultimately

16        obtaining the signed DPSS Lease for defendant GABAEE.

17              5.    On or about December 19, 2016, during a recorded telephone

18        call, defendant GABAEE told CWl that he had to "catch up" with CWl to

19        talk about "Hawthorne."      Defendant GABAEE said, "things have hea,ted

20        up" and "we need to [] get that lease [the DPSS Lease] going."

21        Defendant GABAEE and CWl agreed to meet the following day.

22              6.   On or about December 20, 2016, during a recorded meeting,

23        defendant GABAEE told CWl, "you need to get the SREs,"             (which would

24        allow defendant GABAEE and CWl to begin more formal lease

25        negotiations for the Hawthorne Mall and DPSS Lease).             Following this

26        discussion, defendant GABAEE paid CWl a $1,500 cash bribe.

27             7.    On or about December 30, 2016, during a recorded meeting,

28        defendant GABAEE paid CWl another $1,500 cash bribe.             In reference to

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     1     the Hawthorne Mall and DPSS Lease, defendant GABAEE asked, "can we

     2     just start negotiating that, or no? 11       CWl responded that CWl did not

     3     yet "have the SREs.   11   Defendant GABAEE warned that he was "desperate 11

     4     and needed the SREs and DPSS Lease "badly. 11           CWl promised to try to

     5     "get DPSS to respond 11 regarding its SRE.

     6           8.    On or about January 27, 2017, during a recorded meeting,

     7     defendant GABAEE paid CWl a $1,000 cash bribe ~nd offered to purchase

     8     a property in Northern California for CWl, in exchange for CWl

     9     helping to secure the DPSS Lease for defendant GABAEE.              Defendant

 10       GABAEE said, "If you want to do Hawthorne, we can do this.                Remember

 11       you wanted to buy that ranch? 11      CWl laughed.       Defendant GABAEE

12        continued, "I m serious.
                          1              I m not joking with you.
                                          1                               You do Pomona

13         [another property believed to be owned by defendant], it only gets

14        better. 11

15              9.     On or about January 30, 2017, during a recorded telephone

16        call, defendant GABAEE and CWl briefly discussed "the Hawthorne deal 11

17        and defendant GABAEE 1 s offer to "do something up North, 11 i.e. to

18        purchase a property in Northern California as a bribe for CWl.

19        Defen,dant GABAEE suggested that the two meet in person and said, "I

20        don 1 t want to talk on the phone. 11

21              10.    On or about February 2, 2017, during a recorded meeting,

22        defendant GABAEE and CWl discussed defendant GABAEE's purchase of the

23        Northern California property for CWl.         CWl asked,      ''how are we going

24        to make it work for Northern California?"             Defendant GABAEE responded

25        that he was "ready" and would "make it work. 1'           Defendant GABAEE said,

26        "let me go ask my help and see what I can find."             He told CWl to give

27       him an "idea, like on a map" of a specific location in Northern

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      1    California to look for potential properties.                 CWl suggested "the

     2     Santa Rosa area."

     3            11.    On or about March 1, 2017, during a recorded meeting,

     4     defendant GABAEE paid CWl another $1,000 cash bribe in exchange for,

     5     among other things, CWl helping to secure the DPSS Lease.                CWl

     6     offered to "push" DPSS and County Employee 1 to get the DPSS Lease

     7     and deal for the Hawthorne Mall "going."              CWl prom~sed a "whole new

     8     lease [the DPSS Lease] ... before August [2017]" and would make sure

     9     the deal "look[ed] good on paper," so as to avoid raising any

 10        concerns or suspicion.     In exchange, defendant GABAEE reassured CWl

 11       that he was looking "hot and heavy" for a property to purchase in

 12       Northern California for CWl.         He said, "I'm going to start getting

13        really aggressive with the North."

14               12.    The next day, on or about March 2, 2017, Business Associate

15        1, an individual who worked with defendant GABAEE and helped

16        defendant GABAEE locate properties for sale in Northern California,

17        emailed defendant GABAEE approximately 25 real estate listings for

18        properties in and around the Santa Rosa area in Northern California.

19               13.    On or about March 8, .2017, during a recorded meeting,

20        defendant GABAEE handed CWl approximately 12 real estate listings for

21        properties in and around the Santa Rosa area that were on the market

22        ranging in price from $899,000 to $1,288,000.

23               14.    On or about March 15, 2017, during a recorded meeting,

24        defendant GABAEE offered to purchase a property on Barnes Road in

25        Santa Rosa, California (the \\Barnes Road Property") as a bribe for

26        CWl.   The Barnes Road Property was among the listings defendant

27        GABAEE had offered CWl a week earlier, on or about March 8, 2017.

28        The list price for the Barnes Road Property was $1,199,000.                 In an

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          1    effort to conceal defendant GABAEE's purchase of the property for

J        2     CWl, defendant GABAEE stated that the purchase "ha[d] tobe in some

         3     kind of an LLC" so'that defendant GABAEE and CWl could appear to

         4     "have nothing to do with it."

         5           15.    On or about March 24, 2017, during a recorded telephone

         6     call, defendant GABAEE told CWl that the Barnes Road Property was

         7     already contracted to be sold to another buyer.             Defendant GABAEE

         8     stated that he was "trying to put a back-up [offer] on it."                CWl

         9     offered to "look at something else," and defendant GABAEE told him to

     10        "take a look at that list [of real estate listings defendant GABAEE

     11        had given CWl on or about March 8, 2017] .n

     12             16.     On or about April 6, 2017, during a recorded telephone

    13        call, CWl told defendant GABAEE that CWl had "good news."                "I stuck

    14        my neck out, pushed hard, had a meeting yesterday," CWl said.

    15        "Hawthorne can move forward," CWl stated.              \\I'm gonna move forward

    16        with the 10-year [DPSS Lease]."         CWl and defendant GABAEE then

    17        discussed defendant GABAEE.' s efforts to purchase a property in

    18        Northern California for CWl.         Defendant GABAEE said, "I am fully

    19        engaged on that. n

    20              17.    On or about April 6, 2017, following defendant GABAEE's

    21        telephone call with CWl, defendant GABAEE spoke with Business

    22        Associate 1 during a recorded telephone call.             Defendant GABAEE and

    23        Business Associate 1 discussed the urgent need to locate a property

    24        in Northern California.     Defendant GABAEE told Business Associate 1

    25        to see if "there's a way we can get that house [the Barnes Road

    26        Property]."     Business Associate 1 told defendant GABAEE that the

    27        Barnes Road Property already had a back-up offer and had sold.

    28        Business Associate 1 promised to keep defendant GABAEE informed about

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     1     any other properties that might become available.                Defendant GABAEE

     2     urged Business Associate 1 to be discrete regarding defendant

     3     GABAEE 1 s attempt to purchase property in Northern California, telling

     4     Business Associate 1 that he wanted "this to be confidential."

     5           18.    On or about April 7, 2017, defendant GABAEE spoke with

     6     Business Associate 1 during a recorded telephone call about

     7     purchasing a property in Northern California.               Business Associate 1

     8     told defendant GABAEE, "I have some other good news for you. 11

     9    Business Associate 1 continued, "I think I found another property in

 10       Santa Rosa. 11   Without asking to see the property in person or

11        discussing the list price, defendant GABAEE told Business Associate 1

12        to "make the offer. 11     Defendant GABAEE told Business Associate 1 that

13        the offer could not be under defendant GABAEE 1 s name and asked

14        whether Business Associate 1 had "any entity 11 that could "sign for 11

15        the offer.     Defendant GABAEE said that if Business Associate 1 used

16        an entity to make the offer, defendant GABAEE would later take

17        ownership of the property via "assignment. 11

18              19.    On or about April 10, 2017, during a recorded telephone

19        call, defendant GABAEE told CWl that he "made an off er on something, 11

20        referring to the Northern California property.               CWl asked,    "you saw

21        something that looked good? 11         Defendant GABAEE responded,        "Yeah, I

22        told them today to go ahead and make the offer; I don 1 t want to lose

23        it the second time. 11

24             20.     On or about April 11, 2017, during a recorded meeting, CWl

25       handed defendant GABAEE a copy of the DPSS Lease.                The parties to the

26       lease were the County and M&A Gabaee.             The DPSS Lease was for a

27       period of 10 years and estimated to be worth at least $45,464,400 for

28       defendant GABAEE and his company.            After CWl gave defendant GABAEE

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     1    the DPSS Lease, defendant GABAEE handed CWl a real estate listing for

     2    a property on Annadel Heights Drive in Santa Rosa (the "Annadel

     3    Heights Property").    Defendant GABAEE said, "this is the one [on

     4    which] I'm trying to make an offer."       The list price for the Annadel

     5    Heights Property was originally $1,199,000 but later reduced to

     6    $1,095,000.

     7         21.   On or about April 24, 2017, defendant GABAEE placed an

     8    offer on the Annadel Heights Property for approximately $1,035,000,

     9    as a bribe for CWl.

 10            22.   On or about April 25, 2017, defendant GABAEE placed a

11       second offer on the Annadel Heights Property for approximately

12       $1,065,000, again as a bribe for CWl.

13             Concealment of Material Facts

14             23.   Beginning· in or about 2010 .or 2011, and continuing until at

15       least on or about April 25, 2017, defendant GABAEE concealed from the

16       County that he paid CWl bribes and kickbacks of approximately $1,000

17       about every month, in exchange for, among other things:           (a) CWl

18       providing non-public County information to defendant GABAEE;            (b) CWl

19       resolving issues between defendant GABAEE and County departments or

20       agencies on terms favorable to defendant GABAEE; and (c) CWl helping

21       to secure County leases for defendant GABAEE and negotiating terms in

22       those leases that were beneficial to defendant GABAEE.

23            24.    Beginning in or about 2010 or 2011, and continuing until

24       December 16, 2016, CWl concealed from the County that defendant

25       GABAEE paid him bribes and kickbacks of approximately $1,000 about

26       every mo:n,th, in exchange for., among other things:      (a) CWl providing

27       non-public County information to defendant GABAEE;          (b) CWl resolving

28       issues between defendant GABAEE and County departments or agencies on

                                              10
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      1   terms favorable to defendant GABAEE; and (c) CWl helping to secure

     2    County leases for defendant GABAEE and negotiating terms in those

     3    leases that were beneficial to defendant GABAEE.

     4    B.      USE OF WIRES

     5            25.   On or about the dates set forth below, within the Central

     6    District of California and elsewhere, defendant GABAEE, for the

     7    purpose of executing the above-described scheme to defraud, caused

     8    the transmission of the following items by means of wire

     9    communi·cation in interstate commerce:

 10       COUNT     DATE                WIRE DESCRIPTION
 11       ONE       February 8, 2017    Email from County Employee 1 to an
                                        employee of the Charles Company ("Charles
 12                                     Company Employee 1"), copying CWl and
13                                      defendant GABAEE, with an "amendment f.or
                                        the 12000 Hawthorne lease [DPSS Lease]"
14                                      attached

15        TWO       April 13, 2017      Email from County Employee 1 to Charles
                                        Company Employee 1, copying CWl, with the
16                                      "draft Hawthorne lease [DPSS Lease] and
17                                      work letter" attached

18        THREE    April 22, 2017       iMessage from Business Associate 1 to a
                                        real estate agent in Northern California
19                                       ("Real Estate Agent 1") indicating that
                                        the purchase offer for the Annadel Heights
20                                      Property on behalf of defendant GABAEE
                                        would be sent on or after "Monday," April
21
                                        24, 2017
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 1                                         COUNT FOUR
 2                                [18 U.S.C.    §   666(a) (2)]
 3           The Grand Jury hereby repeats, re-alleges, and incorporates by

 4     reference paragraphs 1 through 4 of the Introductory Allegations and

 5     paragraphs 1 through 25 of Counts One through Three as if set forth

 6     fully herein.
 7           Beginning on a date unknown and continuing until on or about

 8     April 25, 2017, in Los Angeles County ("County"), within the Central

 9     District of California, defendant ARMAN GABAEE, also known as "Arman

10     Gabay," corruptly offered and agreed to give a thing of value, that

11     is, a residential property in Northern California valued over
12     $1,000,000, to Cooperating Witness 1 ("CWl") intending to influence

13     antl reward CWl in connection with any business, transactions, and

14     series· of transactions of the County involving $5,000 or more,

15     namely, the awarding of the Department of Public Social Services

16     Lease.

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 1                                         COUNT FIVE
 2                                [18 U.S.C.    §   666 (a) (2)]
 3           The Grand Jury hereby repeats, re-alleges, and incorporates by

 4     reference paragraphs 1 through 4 of the Introductory Allegations and

 5     paragraphs 1 through 25 of Counts One through Three as if set forth

 6     fully herein.
 7           Between on or about December 20, 2016 and on or about April 11,

 8     2017, in Los· Angeles County ("County"), within the Central District

 9     of California, defendant ARMAN GABAEE, also known as "Arman Gabay,"

10     corruptly gave, offered, and agreed to give a thing of value, that
11     is, $6,000 in cash, over a series of payments, to Cooperating Witness

12     1 ("CWl") intending to influence and reward CWl in connection with

13     any business, transactions, and series of transactions of the County

14     involving a thing of value of $5,000 or more, including by CWl (a)

15     providing non-public County information to defendant GABAEE;              (b)

16     resolving issues between defendant GABAEE and County departments or

17     agencies on. terms favorable to defendant GABAEE; and (c) helping to

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 1     secure County leases for defendant GABAEE and negotiating terms in

 2     those leases that were beneficial to defendant GABAEE.

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 4                                                       A TRUE BILL

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                                                               16/
 6                                                        Foreperson

 7     NICOLA T. HANNA
       United States Attorney
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       .Kr---_;
       LAWRENCE S. MIDDLETON
10     Assistant United States Attorney
       Chief, Criminal Division
11
       MACKE. JENKINS
12     Assistant United States Attorney
       Chief, Public Corruption and Civil Rights Section
13
       RUTH C. PINKEL
14     Assistant United States Attorney
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15     Public Corruption and Civil Rights Section

16    LINDSEY GREER DOTSON
      Assistant United States Attorney
17    Public Corruption and Civil Rights Section

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